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   1   PERKINS COIE LLP
       BOBBIE J. WILSON (Bar No. 148317)
   2   bwilson@perkinscoie.com
       JOSHUA A. REITEN (Bar No. 238985)
   3   jreiten@perkinscoie.com
       DAVID J. TSAI (Bar No. 244479)
   4   dtsai@perkinscoie.com
       ANAHIT SAMARJIAN (Bar No. 279417)
   5   asamarjian@perkinscoie.com
       Four Embarcadero Center, Suite 2400
   6   San Francisco, California 94111-4131
       Telephone: (415) 344-7000
   7   Facsimile: (415) 344-7050
   8   Attorneys for Defendants
       HITRON TECHNOLOGIES AMERICAS INC.,
   9   TODD BABIC, and GREGORY FISHER
  10   NASSIRI & JUNG LLP
       CHARLES H. JUNG (Bar No. 217909)
  11   cjung@nassiri-jung.com
       JOHN J. MANIER (Bar No. 145701)
  12   jmanier@nassiri-jung.com
       633 West 5th Street, 28th Floor
  13   Los Angeles, California 90071
       Telephone: (213) 626-6200
  14   Facsimile: (213) 284-3900
  15   Attorneys for Defendant
       HITRON TECHNOLOGIES INC.
  16
  17                        UNITED STATES DISTRICT COURT
  18                      CENTRAL DISTRICT OF CALIFORNIA
  19   SMC NETWORKS, INC.,                   Case No. SACV12-1293 JLS (RNBx)
  20               Plaintiff,                [Hon. Josephine L. Staton]
  21         v.                              DEFENDANTS’ JOINT MOTION IN
                                             LIMINE NO. 2 RE: EXCLUSION OF
  22   HITRON TECHNOLOGIES INC., a           EVIDENCE RETENTION AND
       Taiwan corporation; HITRON            CONSULTATION WITH COUNSEL
  23   TECHNOLOGIES AMERICAS INC.,
       a Colorado corporation; TODD          Pre-Trial Conf.:   November 22, 2013
  24   BABIC, an individual; GREGORY         Time:              1:30 p.m.
       FISHER; an individual, and DOES 1-    Courtroom:         10A
  25   20, inclusive,
                                             Removal Filed:     October 3, 2012
  26               Defendants.               Trial Date:        December 17, 2013
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   1                        NOTICE OF MOTION AND MOTION
   2   TO PLAINTIFF AND ITS COUNSEL OF RECORD:
   3         PLEASE TAKE NOTICE THAT on November 22, 2013, at 1:30 p.m., at the
   4   Final Pretrial Conference, or as soon thereafter as the matter may be heard before
   5   the Honorable Josephine L. Staton in Courtroom 10A of the United States District
   6   Court, Central District of California, 411 West Fourth Street, Santa Ana, CA
   7   92701-4516, Hitron Technologies Inc. (“Hitron Taiwan”), Hitron Technologies
   8   Americas Inc. (“Hitron Americas”), Todd Babic, and Gregory Fisher (collectively,
   9   “Defendants”) will and do hereby move in limine for an Order precluding Plaintiff
  10   SMC Networks, Inc. (“SMC”) from introducing any argument or evidence
  11   (documentary, testimonial, or otherwise) related to Defendants’ consultations with
  12   or retention of attorneys in connection with actual or potential legal disputes with
  13   SMC, including but not limited to Defendants Todd Babic’s and Gregory Fisher’s
  14   consultations with or retention of attorneys prior to the beginning of their
  15   employment with Hitron Americas. This Motion is made pursuant to Rules 401,
  16   402, and 403 of the Federal Rules of Evidence on the grounds that such evidence is
  17   irrelevant and, in any event, substantially more prejudicial and likely to confuse the
  18   issues than probative in this case.
  19         This Motion is based on this Notice, the attached Memorandum of Points and
  20   Authorities, the concurrently-filed Declaration of Joshua A. Reiten (“Reiten
  21   Decl.”), all pleadings and papers on file in the instant action, and any other matters
  22   that may be considered by the Court at any hearing on this Motion. This Motion is
  23   made following the conference of counsel pursuant to L.R. 7-3, which took place
  24   on October 18, 2013.
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   1                MEMORANDUM OF POINTS AND AUTHORITIES
   2                                   INTRODUCTION
   3         This Motion asks the Court to exclude all evidence and argument related to
   4   Defendants’ consultations with or retention of attorneys in connection with
   5   potential legal disputes with SMC, and specifically is directed at Defendants Todd
   6   Babic’s and Gregory Fisher’s consultations with or retention of counsel prior to the
   7   beginning of their employment with Hitron Americas.
   8         In its briefing opposing Defendants’ motions for summary judgment, SMC
   9   referred to “Fisher[’s] and Babic[’s] express concerns to Hitron about potential
  10   claims by SMC” and Fisher’s and Babic’s “ask[ing] Hitron to indemnify them.”
  11   This briefing signals SMC’s plans to present at trial evidence of Babic’s and
  12   Fisher’s Americas. Indeed, SMC refused to stipulate to the exclusion of such
  13   evidence during meet-and-confer discussions on the instant Motion. Any such
  14   evidence should be excluded, however, because it is irrelevant since there is no
  15   connection between the evidence and SMC’s claims against Defendants. Further, it
  16   is entirely speculative to infer that Babic and Fisher were in any way
  17   acknowledging any alleged wrongdoing by being “concerned” about claims by
  18   SMC. Finally, even if such evidence were marginally relevant, it would be
  19   substantially more prejudicial than probative in this case, and would additionally
  20   confuse the actual issues. For these reasons, this Court should exclude all such
  21   evidence.
  22                              FACTUAL BACKGROUND
  23         On August 16, 2013, each Defendant filed motions for summary judgment,
  24   or alternatively, for partial summary judgment. Dkts. 108-111. SMC filed
  25   oppositions to these motions on September 6, 2013. Dkts. 158-161. Among other
  26   things, SMC referred in its opposition papers to “Fisher[’s] and Babic[’s] express
  27   concerns to Hitron about potential claims by SMC” and Fisher’s and Babic’s
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   1   “ask[ing] Hitron to indemnify them.” See, e.g., Dkt. 159 at 6; Dkt. 158 at 6; Dkt.
   2   161 at 7; Dkt. 160 at 7.
   3         Further, during discovery in this litigation, SMC took several depositions of
   4   Defendants’ witnesses during which SMC questioned witnesses about documents
   5   that mentioned Babic’s and Fisher’s communications with their private attorneys.
   6   Reiten Decl. ¶10. SMC also referenced Babic’s and Fisher’s communications with
   7   private counsel in its Second Supplemental Responses to Babic’s and Fisher’s
   8   respective First Sets of Interrogatories. Id. Exhs. 383, 385. And SMC refused to
   9   stipulate to the exclusion of such evidence at trial during meet-and-confer
  10   discussions regarding the parties’ respective motions in limine. Reiten Decl. ¶11.
  11   The foregoing references signal SMC’s intent to introduce evidence of such
  12   communications at trial.
  13                                       ARGUMENT
  14   I.    Evidence of Babic’s and Fisher’s Retention of and Communications
             With Attorneys Is Irrelevant Under FRE 401 and Should Be Excluded
  15         Under FRE 402.
  16         Irrelevant evidence is not admissible. Fed. R. Evid. 402. To be relevant,
  17   evidence must have a “tendency to make a fact more or less probable than it would
  18   be without the evidence” and must be of “consequence in determining the action.”
  19   Fed. R. Evid. 401. A rule of thumb is to inquire whether a reasonable person might
  20   believe the probability of the truth of the consequential fact to be different if he
  21   knew of the proffered evidence. United States v. Brashier, 548 F.2d 1315, 1325
  22   (9th Cir. 1976) (internal citations and quotation marks omitted); see also United
  23   States v. Hanigan, 681 F.2d 1127, 1131 (9th Cir. 1982) (evidence properly
  24   excluded when irrelevant to an issue before the jury).
  25         Here, there is no basis on which to conclude that the fact Babic and Fisher (or
  26   other Defendants) separately consulted attorneys tends to prove or disprove any
  27   consequential fact. Put differently, a juror would not believe the truth of any
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   1   consequential fact to be different if shown this evidence because this evidence is
   2   immaterial to SMC’s causes of action.
   3         For example, the fact that Babic and Fisher communicated with their
   4   respective private lawyers before joining Hitron Americas does not tend to prove
   5   that they had misappropriated trade secrets, owed and breached a fiduciary duty,
   6   breached any contract, or engaged in any of the other alleged misconduct.
   7         As suggested by its briefing mentioning Babic’s and Fisher’s so-called
   8   “concerns” about potential claims by SMC and requests for indemnification, SMC
   9   may argue that this evidence shows that Babic and Fisher: (1) knew that their
  10   leaving SMC was wrongful, and/or (2) planned to commit wrongful acts in the
  11   future when they started working for Hitron Americas. SMC may argue that this
  12   evidence reveals Babic’s and Fisher’s acknowledgment of their own alleged
  13   wrongdoing. These arguments fail, and this evidence remains irrelevant, for at least
  14   two reasons.
  15         First, it is entirely speculative and remote to rely on the fact that Babic and
  16   Fisher each consulted with private attorneys to establish that Babic and Fisher
  17   allegedly knew that they had committed or were going to commit wrongful acts. It
  18   is just as likely that Babic and Fisher consulted with attorneys for various other
  19   reasons. For example, Babic and Fisher may have believed that they were entirely
  20   innocent and had done nothing wrong but knew that SMC was a struggling
  21   company with poor management that might file a lawsuit solely to impede Babic
  22   and Fisher from competing against SMC. Or Babic and Fisher may have simply
  23   been very diligent in ensuring that everything being done by them and their new
  24   employer was done correctly and thoroughly according to law.
  25         Just as Defendants could not use such evidence to show that Babic and Fisher
  26   did not actually commit the wrongful acts alleged by SMC, SMC cannot use this
  27   evidence to try to prove the opposite.
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   1         Second, neither Babic’s nor Fisher’s state of mind related to the alleged
   2   misconduct, nor their knowledge of what they were legally bound to do or not do,
   3   are elements or factors in any cause of action alleged in the SAC. No evidence of
   4   Babic and Fisher retaining and communicating with counsel, therefore, would have
   5   a “tendency to make a fact more or less probable than it would be without the
   6   evidence.” See Fed. R. Evid. 401. SMC’s causes of action against Babic and
   7   Fisher are for breach of contract, breach of confidence, breach of fiduciary duty,
   8   tortious interference with prospective economic advantage, and misappropriation of
   9   trade secrets. None of these causes of action require Babic and Fisher to have
  10   known that what they were allegedly doing was wrongful or illegal. If SMC is able
  11   to prove that Babic and Fisher in fact did the acts alleged (which it cannot), SMC
  12   will have proven its case. No evidence that Babic and Fisher consulted attorneys
  13   and therefore somehow knew they were doing unlawful acts is necessary, and
  14   further, even if Babic and Fisher knew that some act was unlawful, their knowledge
  15   does not provide evidence that they actually undertook those acts. Evidence which
  16   has no probative value with respect to any issue is not admissible, and the trial
  17   judge has the duty to exclude such evidence from consideration by the jury. United
  18   States v. Higgins, 362 F.2d 462, 464 (7th Cir. 1966).
  19   II.   Even If Marginally Relevant, Evidence of Babic’s and Fisher’s Retention
  20         of and Communication With Attorneys Is Substantially More
             Prejudicial and Confusing Than Probative and Should Be Excluded
  21         Under FRE 403.

  22         A court may exclude otherwise relevant evidence “if its probative value is
  23   substantially outweighed by a danger of . . . unfair prejudice, confusing the issues,
  24   misleading the jury, undue delay, wasting time, or needlessly presenting cumulative
  25   evidence.” Fed. R. Evid. 403. “Where the evidence is of very slight (if any)
  26   probative value, it’s an abuse of discretion to admit it if there is even a modest
  27   likelihood of unfair prejudice or small risk of misleading jury.” United States v.
  28   Hitt, 981 F.2d 422, 424 (9th Cir. 1992); see also Diede v. Burlington Northern R.
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   1   Co., 772 F.2d 593, 595-96 (9th Cir. 1985) (excluding testimony concerning largely
   2   irrelevant tax evidence where, even if evidence were relevant, its probative value
   3   was outweighed by danger that it would confuse the issues, mislead the jury, and
   4   waste court’s time).
   5         Here, even if evidence of Defendants’ retention of or communications with
   6   attorneys could be somehow considered relevant, its relevance has very little
   7   probative value because any inference made from such evidence would be
   8   speculative and of “no consequence in determining the action.” Fed. R. Evid. 401.
   9   Indeed, such evidence has a far greater than “modest likelihood of unfair prejudice
  10   or small risk of misleading the jury.” Hitt, 981 F.2d at 424.
  11         That Babic and Fisher (or other Defendants) consulted attorneys about the
  12   possibility of being sued by SMC and their negotiations for employment with
  13   Hitron Americas does not make it more or less probable that any Defendant did or
  14   failed to do the acts alleged by SMC. Instead, such evidence presented to the jury
  15   would create substantial prejudice and confusion in the mind of the jury because
  16   members of the jury may unreasonably jump to the conclusion that Defendants
  17   must be liable if they spoke to attorneys about being sued. Additionally, such
  18   evidence will likely confuse the issues and waste the jury’s and the Court’s time.
  19   See, e.g., Faulkner v. National Geographic Soc., 576 F. Supp. 2d 609, 613
  20   (S.D.N.Y. 2008) (evidence going only to show willfulness not admissible when
  21   willfulness was not a material issue and “its only function would be in service of an
  22   attempt by plaintiff to prejudice the jury’s assessment of damages and, if it proves
  23   to be in issue, liability by portraying defendants in an unflattering light.”); Freidus
  24   v. First Nat. Bank of Council Bluffs, 928 F.2d 793, 795 (8th Cir. 1991) (testimony
  25   of CPA properly excluded as potentially confusing or misleading to jury in breach
  26   of contract suit where CPA’s explanation of adverse tax consequences had tenuous
  27   relevance to issues in suit); Park West Radiology v. CareCore Nat. LLC, 675 F.
  28   Supp. 2d 314, 325 (S.D.N.Y. 2009) (any probative value of documents, references,
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   1   and testimony related to allegations of fraud by nonparties was substantially
   2   outweighed by possibility of confusion of issues when such evidence had “only
   3   tangential bearing” to issues and claims disputed in case); Lewis v. City of Chicago
   4   Police Dept., 590 F.3d 427, 442-43 (7th Cir. 2009) (testimony regarding
   5   defendant’s supervisor’s retaliatory motive excluded because it was too speculative
   6   and did not actually connect supervisor’s conduct to the discrimination complaint).
   7         Consequently, any suggestion, reference, or testimony related to Defendants’
   8   communications or consultations with or retention of attorneys is either entirely
   9   irrelevant or of such little probative value compared with the risk of prejudice and
  10   confusion that this Court should exclude such evidence.
  11                                     CONCLUSION
  12         For the foregoing reasons, Defendants respectfully request that the Court
  13   grant this Motion and enter an order precluding SMC from introducing at trial any
  14   suggestion, reference, or testimony related to Defendants’ communications or
  15   consultations with or retention of attorneys.
  16   DATED: October 25, 2013               Respectfully,
  17                                         PERKINS COIE LLP
  18
  19                                         By:             /s/ Bobbie J. Wilson
  20                                                          BOBBIE J. WILSON

  21                                         Attorneys for Defendants HITRON
                                             TECHNOLOGIES AMERICAS INC.,
  22                                         TODD BABIC and GREGORY FISHER

  23
                                             NASSIRI & JUNG LLP
  24
  25
                                             By:          /s/ John J. Manier
  26                                                          JOHN J. MANIER
  27                                         Attorneys for Defendant HITRON
                                             TECHNOLOGIES INC.
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